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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                         )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10           v.                                        )          2:10-CR-565-RLH (PAL)
                                                       )
11   ANDREW KAUFMAN,                                   )
                                                       )
12                         Defendant.                  )

13                            PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on December 23, 2010, defendant ANDREW KAUFMAN pled guilty

15   to Counts One and Thirteen of a Fourteen Count Superseding Criminal Indictment charging him in

16   Count One with Conspiracy to: Distribution of Explosive Materials by a Non-Licensee (Count Two)

17   in violation of Title 18, United States Code, Section 842(a)(3)(B) and 844(a); Transportation of

18   Explosive Materials by a Non-Licensee (Count Three) in violation of Title 18, United States Code,

19   Section 842(a)(3)(A) and 844(a); Transporting a Destructive Device Without a License (Count Four)

20   in violation of Title 18, United States Code, Section 922(a)(4); Possession of a Machine Gun (Count

21   Five) and Illegal Transfer of a Machine Gun (Count Six) in violation of Title 18, United States Code,

22   Section 922(o); Possession of an Unregistered NFA Firearm (Count Seven) in violation of Title 26,

23   United States Code, Section 5861(d); Transfer of a Firearm in violation of the NFA (Count Eight) in

24   violation of Title 26, United States Code, Section 5861(e); Transporting in Interstate Commerce an

25   Unregistered NFA firearm (Count Nine) in violation of Title 26, United States Code, Section 5861(j);

26   Possession of Unlawfully Imported Firearm (Count Ten) in violation of Title 26, United States Code,
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 1   Sections 5844 and 5861(k); Dealing Firearms Without a License (Count Eleven) in violation of Title
 2   18, United States Code, Section 922(a)(1)(A); Illegal Possession of a Machine Gun (Count Twelve)
 3   and Illegal Transfer of a Machine Gun (Count Thirteen) in violation of Title 18, United States Code,
 4   Section 922(o); and Possession of a Stolen Firearm (Count Fourteen) in violation of Title 18, United
 5   States Code, Section 922(j), all in violation of Title 18, United States Code, Section 371; and
 6   separately in Count Thirteen with Illegal Transfer of a Machine Gun in violation of Title 18, United
 7   States Code, Section 922(o).
 8             This Court finds defendant ANDREW KAUFMAN agreed to the forfeiture of the property
 9   set forth in Forfeiture Allegations of the Superseding Criminal Indictment.
10             This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of
11   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
12   Superseding Criminal Indictment and the offense to which defendant ANDREW KAUFMAN pled
13   guilty.
14             The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
15   924(d)(1) and Tile 28, United States Code, Section 2461(c); Title 18, United States Code, Section
16   981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 21, United States Code, Section
17   853(p); and Title 26, United States Code, Section 5872(a) and Title 28, United States Code, Section
18   2461(c):
19                   a.      Romarm Model GP-WASR AK-47 style 7.62mm rifle, serial # PU-6692-85;
20                   b.      YUGO model 59/66, 7.62mm rifle, serial # 551451;
21                   c.      Norinco, Model SKS, 7.62mm rifle, serial # 20029181;
22                   d.      IZHMASH model Saiga, 7.62 mm rifle, serial # H03104475;
23                   e.      Uzi 9mm semi-auto pistol, serial # UP03531;
24                   f.      JLD Enterprises Model PTR91, .308 caliber semi-auto rifle, serial # A1341;
25                   g.      Harrington and Richardson, Model Handi Rifle, .223 caliber rifle, serial #
26                           HX200769;

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 1               h.    Ruger Mini-14, .223 caliber semi-auto rifle, serial # 185-35560;
 2               I.    UNK, M1, 30 Cal rifle, serial # 8847153;
 3               j.    Poland, Model PMKMS (AKM-type), 7.62 x 39 mm caliber machine gun,
 4                     serial # KM15107; with one 30-round magazine;
 5               k.    Romania, Model AIM / PM63 (AKM-type), 7.62 x 39 mm caliber
 6                     machine gun, serial # FG0211; with one 30-round magazine;
 7               l.    Tula, Model AKM, 7.62 x 39 caliber machine gun, serial # 596014;
 8               m.    Izhevsk, Model AKMS, 7.62 x 39 caliber machine gun, serial # 219291;
 9               n.    Vulcan Arms Model V15, 5.56mm, full-auto machine gun rifle, serial #
10                     P8244;
11               o.    Romanian, Model AIM / PM63 (AKM-type), 7.62 x 39mm caliber machine
12                     gun, serial # NU4956;
13               p.    Tula, model AKM, 7.62 x 39mm caliber machine gun, serial # 981151;
14               q.    Izhevsk, Mod. AKM, 7.62 x 39 mm cal. machine gun, identified by number
15                     B1601;
16               r.    Bulgarian, Mod. AKK (AK-47), 7.62 x 39mm cal. machine gun, serial # KO
17                     154011;
18               s.    Romanian, Model AIMS/PM65 (AKM-type), 7.62x39mm cal. machine gun,
19                     serial # AF2192
20               t.    AKM-Type, 7.62x39 mm cal. machine gun, maker uncertain, serial # UM-
21                     7313-05;
22               u.    Iraq, Model Tabuk (AKM-Type), 7.62x39mm cal. machine gun, serial #
23                     8037669;
24               v.    Zastava Arms, Model M70AB2, 7.62x39mm cal. machine gun, serial # B-
25                     95917;
26               w.    Tula, Model AKM, 7.62 X 39mm caliber machine gun, serial # 842782;

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 1               x.    Tula, Model AKM, 7.62 X 39mm machine gun, serial # 596085;
 2               y.    Norinco, Model 56-1 7.62 X 39mm caliber machine gun, serial # 26022877;
 3               z.    Tula, Model AKM 7.62 X 39mm caliber machine gun, serial # 597584;
 4               aa.   Zastava Arms, model M70AB2, 7.62 X 39mm caliber machine gun, serial
 5                     # B-96106;
 6               bb.   Zastava Arms, Model M70AB2, 7.62 X 39mm caliber machine gun, serial
 7                     # 602379;
 8               cc.   Ruger, P95DC,, 9mm pistol, serial # 314-38221;
 9               dd.   Ruger, P95DC, 9mm pistol, serial # 315-58276;
10               ee.   Ruger, P95DC, 9mm pistol, serial # 315-65017;
11               ff.   Ruger, P95DC, 9mm, serial # 314-39509;
12               gg.   Ruger, P95DC, 9mm, serial # 315-65022;
13               hh.   Arms Corps M-21/14 7.62 rifle, serial # 11738;
14               ii.   Savage 300 Rem. rifle, serial # F936150;
15               jj.   Colt, AT-15 .223 rifle, serial # L8D032093;
16               kk.   Ithaca, unknown caliber shotgun, serial # 371290356;
17               ll.   Ruger P95, 9mm serial # 314-34728;
18               mm.   Deringer, .45 caliber pistol, serial # 48977;
19               nn.   Smith & Wesson, .357 revolver, serial # BNW1214;
20               oo.   Masterpiece Arms, .45 caliber pistol with extension, serial # A4802;
21               pp.   Remington, Model 742, serial # 4771;
22               qq.   Ruger, model P95DC, 9mm pistol, serial # 314-34729;
23               rr.   Ruger, model P95DC, 9mm pistol, serial # 315-65178;
24               ss.   Sig Sauer, model P220, .45 caliber pistol, serial # G369927;
25               tt.   Unknown manufacturer, unknown model, unknown caliber rifle, serial #
26                     61134;

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 1               uu.    New England Arms, model P, 12 GA shotgun, serial # NM323393;
 2               vv.    Unknown manufacturer, unknown model, unknown caliber rifle, serial #
 3                      32413;
 4               ww.    Unknown manufacturer, model 98, unknown caliber rifle, serial # T9348;
 5               xx.    Winchester, model 1200, 12 GA shotgun, serial # L1156207;
 6               yy.    Unknown manufacturer, unknown model, unknown caliber rifle, serial #
 7                      4250;
 8               zz.    Unknown manufacturer, unknown model, unknown caliber machine gun,
 9                      serial # F-3452;
10               aaa.   Unknown manufacturer, unknown model, unknown caliber machine gun,
11                      serial # 56401731;
12               bbb.   Unknown manufacturer, unknown model, unknown caliber machine gun,
13                      serial # 598675;
14               ccc.   Ruger, model P95DC, 9mm pistol, serial # 315-65182;
15               ddd.   Star, Bonifacio Echeverria, model Gold Setra 2002, 9mm hand gun, serial
16                      # 60519;
17               eee.   Beretta, Pietro S.P.A., model 92S, 9mm hand gun, serial # X22657Z;
18               fff.   Ruger, model P95DC, 9mm caliber pistol, serial # 315-63353;
19               ggg.   Unknown manufacturer, model MP-5, 9mm caliber machine gun, serial
20                      # C49892;
21               hhh.   Beretta, Pietro S.P.A., model 12S, 9mm caliber machine gun, serial #
22                      F08191;
23               iii.   Unknown manufacturer, unknown model, unknown caliber machine gun,
24                      serial # U6335;
25               jjj.   Unknown manufacturer, model M92, unknown caliber machine gun, serial
26                      # 83566;

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 1                  kkk.   Unknown manufacturer, model M92, unknown caliber machine gun, serial
 2                         # 83587;
 3                  lll.   Unknown manufacturer, model M92, unknown caliber machine gun, serial
 4                         # 83683;
 5                  mmm. Unknown manufacturer, model M92, unknown caliber machine gun,
 6                         serial # 83692;
 7                  nnn.   Unknown manufacturer, model M92, unknown caliber machine gun, serial
 8                         # 82296;
 9                  ooo.   Unknown manufacturer, unknown model, unknown caliber machine gun,
10                         serial # SH2783;
11                  ppp.   Ruger, model P95DC, 9mm caliber hand gun, serial # 314-35165;
12                  qqq.   Glock, model 19, 9mm caliber hand gun, serial # GND176;
13                  rrr.   Ruger, model P95DC, 9mm caliber hand gun, serial # 314-39389;
14                  sss.   Ruger, model P95DC, 9mm caliber pistol, serial # 315-64373;
15                  ttt.   Astra, model 800, 9mm handgun, serial # 830267;
16                  uuu.   any and all ammunition;
17                  vvv.   $25,584.00 in United States Currency; and
18                  www. an in personam criminal forfeiture money judgment of $38,220.00 in United
19                         States Currency (“property”).
20           This Court finds the United States of America is now entitled to, and should, reduce the
21   aforementioned property to the possession of the United States of America.
22           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
23   United States of America should seize the aforementioned property.
24           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
25   ANDREW KAUFMAN in the aforementioned property is forfeited and is vested in the United States
26   of America and shall be safely held by the United States of America until further order of the Court.

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 1           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
 2   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
 3   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
 4   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
 5   the name and contact information for the government attorney to be served with the petition, pursuant
 6   to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
 7           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
 8   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
 9           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
10   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
11   following address at the time of filing:
12                  MICHAEL A. HUMPHREYS
                    Assistant United States Attorney
13                  DANIEL D. HOLLINGSWORTH
                    Assistant United States Attorney
14                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
15                  Las Vegas, Nevada 89101.
16           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
17   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
18   following publication of notice of seizure and intent to administratively forfeit the above-described
19   property.
20                       3rd
             DATED this ______         January, 2011.
                               day of __________________, 2010.
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24                                                  UNITED  STATES
                                                    CHIEF UNITED    DISTRICT
                                                                 STATES        JUDGE
                                                                        DISTRICT JUDGE

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